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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
Plaintiff,
Vi

THE M/Y AMADEA, A MOTOR YACHT
BEARING INTERNATIONAL MARITIME
ORGANIZATION NO. 1012531, INCLUDING
ALL FIXTURES, FITTINGS, MANUALS,
STOCKS, STORES, INVENTORIES, AND
EACH LIFEBOAT, TENDER, AND OTHER
APPURTENANCE THERETO,

Defendant-/n-Rem,

and

EDUARD YURIEVICH KHUDAINATOV,
MILLEMARIN INVESTMENTS LTD.,

Claimants.

Case No. 1:23-cv-09304

The Honorable Dale E. Ho

DECLARATION OF FRANCOIS ZURETTI

I, FRANCOIS ZURETTI, hereby declare and state the following under the penalty of

perjury under the laws of the United States of America.

de My name is Francois Zuretti, | am above the age of 18, and a citizen of France.
Z. I am the founder of Zuretti Interior Design (“ZID”), an interior design firm based

in Nice, France, that specializes in custom interior designs for luxury yachts and residences. I

have been designing interiors for luxury yachts since 1987. Since that time, I have designed

interiors for approximately 40 luxury yachts that have been built by leading shipyards such as

Liirssen Yachts (“Liirssen”) in Germany.
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3. T met with Mr. Eduard Khudainatov in person approximately 17 times regarding
the interior design for Project Mistral, which upon completion became the M/Y Amadea, as he
was introduced to me as the client, and the only client, for this project with whom I met to design
the interior.

4. The first meeting with Mr. Khudainatov took place at Liirssen in Bremen,
Germany, on February 4, 2012. After that meeting, my firm, ZID, was formally hired to design
the interior of the M/Y Amadea, by way of a written contract entered into between ZID and
Nereo Management Limited, dated April 12, 2012.

5; The remaining 16 meetings that I had with Mr. Khudainatov regarding the
Amadea spanned from April 22, 2012 through December 21, 2016. The majority of these
meetings took place in Moscow. During these meetings, which lasted several hours each, Mr.
Khudainatov conveyed his vision for the interior of the vessel and selected the design elements
that were incorporated into the final product. Two of these meetings included the undocking day
for the Amadea on April 16, 2016, and a celebratory meeting on the vessel on December 10,
2016. Both of these meetings took place at the Liirssen shipyard in Rendsburg, Germany.

6. During my meetings with Mr. Khudainatov regarding the M/Y Amadea, I
believed him to be the owner of the M/Y Amadea, and I had no reason to think otherwise.

i. I have no financial or other motive in making the statements contained herein,

other than to tell the truth.

I declare under penalty of perjury under the laws of the
foregoing is true and correct.

Executed on: June 10 _, 2024

Fra

cois Zuretti

